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                        INTERVIEW OF CAPTAIN MARK HANCOCK


                           PARK COUNTY SHERIFF'S OFFICE




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    1   something here.

    2               I actually looked around here and Nate was headed up

    3   here and just told me there's no, there's nothing here,

    4   there's no doorway so I was a bit surprised but we all four

    5   got up here and we stacked on this side of the door.

    6               AGENT HASSENSTAB:       Because the other two, other than

    7   you and Nate were --

    8               CAPTAIN HANCOCK:      Kolby and Travis.

    9               AGENT HASSENSTAB:       Okay.

   10               CAPTAIN HANCOCK:      They were stacked -- I was behind

   11   Nate.   Nate was in front.      Me, I'm not sure the order behind

   12   me but I knew they were close because we've done lots of stuff

   13   and they were right up on me.

   14               AGENT HASSENSTAB:       Uh-huh.

   15               CAPTAIN HANCOCK:      Not a real tap-up thing, a congo

   16   line, but close.

   17               I knocked, reached around Nate, knocked and

   18   announced several times.       Nate knocked and announced and I

   19   made a couple calls maybe to the Sheriff who was for some

   20   reason on his way there.       I think he just had a bad feeling

   21   and I might have saw Fred pull up or I knew he was near and I

   22   said Sheriff, you know, there's too much of a delay from this

   23   to here and I really feel like he's barricading or, you know,

   24   something bad's going to happen and I really regret that I'm a

   25   Marine sometimes because I am super aggressive and I don't

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    1   night and I said so I'm on administrative leave, right?                  He

    2   said yes, so --

    3               AGENT HASSENSTAB:       Okay.

    4               CAPTAIN HANCOCK:      I, you know, I'm not sure what I'm

    5   supposed to do from here.

    6               AGENT HASSENSTAB:       I think just relax and --

    7               CAPTAIN HANCOCK:      Yeah.

    8               AGENT HASSENSTAB:       -- and do the best you can is all

    9   you can do.

   10               CAPTAIN HANCOCK:      Yeah, Mary Patt (phonetic), who I

   11   shared an office with, their B.A. wants me to come to some

   12   damn debriefing tomorrow and so I'll probably go, moreso to be

   13   the leader.

   14               AGENT HASSENSTAB:       Right.

   15               CAPTAIN HANCOCK:      But, you know, the fight's a

   16   little taken out of me.        I, you know, I'm second guessing and

   17   worrying that I messed something up or, I don't know, just

   18   second guessing, having bad dreams.

   19               AGENT HASSENSTAB:       Which I think is all natural

   20   and --

   21               CAPTAIN HANCOCK:      Yeah, it's normal.            I mean, I've

   22   been through the same thing before.               I just --

   23               AGENT HASSENSTAB:       Was that Platte Canyon when you

   24   went through before?

   25               CAPTAIN HANCOCK:      Yeah, uh-huh.             Platte Canyon and

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    1                                  CERTIFICATE

    2

    3               I, Lesley Fujarczyk, certify that I transcribed this

    4   record from the digital recording of the above-entitled

    5   matter.

    6               I further certify that the aforementioned transcript

    7   is a complete and accurate transcript of the proceedings based

    8   upon the audio facilities of these CD's and my ability to

    9   understand them.     Indiscernibles are due to microphones not

   10   working properly, excessive noises or muffled voices.

   11

   12               Signed this 21st day of March, 2016, in Loveland,

   13   Colorado.

   14

   15                                                 __________________________
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